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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
     ------------------------------------ x
     LAMAR BROWN, on behalf of himself and all :                   Case no. 1:22-cv-4737
     others similarly situated,                :
                                               :
                            Plaintiffs,        :
                                               :                   CLASS ACTION COMPLAINT
                             v.                :                             AND
                                               :                    DEMAND FOR JURY TRIAL
     SOLA SALON STUDIOS LLC, and               :
     SOLA FRANCHISE CORPORATION                :
                                               :
                            Defendants.        :
                                               :
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                                             INTRODUCTION



1.   Plaintiff, LAMAR BROWN (“Plaintiff” or “BROWN”), brings this action on behalf of himself and

     all other persons similarly situated against SOLA FRANCHISE CORPORATION and SOLA

     SALON STUDIOS, LLC (hereinafter “Sola Salon Studios” or “Defendants”), and states as follows:


2.   Plaintiff is a visually-impaired and legally blind person who requires screen-reading software to

     read website content using his computer. Plaintiff uses the terms “blind” or “visually-impaired” to

     refer to all people with visual impairments who meet the legal definition of blindness in that they

     have a visual acuity with correction of less than or equal to 20 x 200. Some blind people who meet

     this definition have limited vision; others have no vision.


3.   Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the United States

     are visually impaired, including 2.0 million who are blind, and according to the American




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     Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired persons live in

     the State of New York.


4.   Plaintiff brings this civil rights action against Sola Salon Studios for their failure to design,

     construct, maintain, and operate their website to be fully accessible to and independently usable

     by Plaintiff and other blind or visually-impaired persons. Defendants are denying blind and

     visually impaired persons throughout the United States with equal access to services Sola Salon

     Studios provides to their non-disabled customers through https://www.solasalonstudios.com

     (hereinafter “Solasalonstudios.com” or “the website”). Defendants’ denial of full and equal access

     to their website, and therefore denial of its services offered, and in conjunction with their physical

     locations, is a violation of Plaintiff’s rights under the Americans with Disabilities Act (the “ADA”).


5.   Solasalonstudios.com provides to the public a wide array of services, price specials and other

     programs offered by Sola Salon. Yet, Solasalonstudios.com contains significant access barriers that

     make it difficult if not impossible for blind and visually-impaired customers to use the website. In

     fact, the access barriers make it impossible for blind and visually-impaired users to enjoy and learn

     about the services at Solasalonstudios.com prior to entering Defendants’ physical location. Thus,

     Sola Salon Studios excludes the blind and visually-impaired from the full and equal participation

     in the growing Internet economy that is increasingly a fundamental part of the common marketplace

     and daily living. In the wave of technological advances in recent years, assistive computer

     technology is becoming an increasingly prominent part of everyday life, allowing blind and

     visually-impaired persons to fully and independently access a variety of services.


6.   The blind have an even greater need than the sighted to have access to various websites in order to

     compare merchandise, benefits and prices, to get more information about the companies, their




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     locations and hours of operation. The lack of an accessible website deters blind customers from

     visiting Defendants’ physical location and enjoying services that it provides to the public.


7.   Despite readily available accessible technology, such as the technology in use at other heavily

     trafficked websites, which makes use of alternative text, accessible forms, descriptive links,

     resizable text and limits the usage of tables and JavaScript, Defendants have chosen to rely on an

     exclusively visual interface. Sola Salon Studio’s sighted customers can independently browse and

     learn more information about the company and its services without the assistance of others.

     However, blind persons must rely on sighted companions to assist them in accessing

     Solasalonstudios.com.


8.   By failing to make the website accessible to blind persons, Defendants are violating basic equal

     access requirements under both state and federal law.


9.   Congress provided a clear and national mandate for the elimination of discrimination against

     individuals with disabilities when it enacted the ADA. Such discrimination includes barriers to full

     integration, independent living, and equal opportunity for persons with disabilities, including those

     barriers created by websites and other public accommodations that are inaccessible to blind and

     visually impaired persons. Similarly, New York state law requires places of public accommodation

     to ensure access to goods, services, and facilities by making reasonable accommodations for

     persons with disabilities.


10. Plaintiff browsed and intended to analyze and use services provided by Defendants on

     Solasalonstudios.com. However, unless Defendants remedy the numerous access barriers on its

     website, Plaintiff and Class members will continue to be unable to independently navigate, browse

     and use Solasalonstudios.com.



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11. Because Defendants’ website, Solasalonstudios.com, is not equally accessible to blind and visually-

    impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction to cause a change

    in Sola Salon Studio’s policies, practices, and procedures to that Defendants’ website will become

    and remain accessible to blind and visually-impaired consumers. This complaint also seeks

    compensatory damages to compensate Class members for having been subjected to unlawful

    discrimination.




                                     JURISDICTION AND VENUE


12. This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42 U.S.C. §

    12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28

    U.S.C. § 1332. This Court also has supplemental jurisdiction over pursuant to 28 U.S.C. § 1367,

    over Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y. Exec. Law,

    Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law, N.Y.C.

    Administrative Code § 8-101 et seq. (“City Law”).


13. Venue is proper in this District of New York pursuant to 28 U.S.C. §§ 1391(b)(c) and 144(a)

    because Defendants conduct and continue to conduct a substantial and significant amount of

    business in this District, and a substantial portion of the conduct complained of herein occurred in

    this District because Plaintiff attempted to utilize, on a number of occasions, the subject Website

    within this Judicial District.


14. Defendants are registered to do business in New York State and have been conducting business in

    New York State, including in this District. Defendants purposefully target and otherwise solicit




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business from New York State residents through its website. Because of this targeting, it is not

unusual for Sola Salon Studios to conduct business with New York State residents. Defendants also

have been and are committing the acts alleged herein in this District and have been and are violating

the rights of consumers in this District and have been and are causing injury to consumers in this

District. A substantial part of the act and omissions giving rise to Plaintiff’s claims have occurred

in this District. Most courts support the placement of venue in the district in which Plaintiff tried

and failed to access the Website. In Access Now, Inc. v. Otter Products, LLC 280 F.Supp.3d 287

(D. Mass. 2017), Judge Patti B. Saris ruled that “although the website may have been created and

operated outside of the district, the attempts to access the website in Massachusetts are part of the

sequence of events underlying the claim. Therefore, venue is proper in [the District of

Massachusetts].” Otter Prods., 280 F.Supp.3d at 294. This satisfies Due Process because the harm

– the barred access to the website – occurred here.” Otter Prods., 280 F.Supp.3d at 293.


Additionally, in Access Now, Inc. v. Sportswear, Inc., No. 17-cv-11211-NMG, 2018 Dist. LEXIS

47318 (D. Mass. Mar. 22, 2018), Judge Nathaniel M. Gorton stated that the defendant “availed

itself of the forum state’s economic activities by targeting the residents of the Commonwealth . . .

Such targeting evinces a voluntary attempt to appeal to the customer base in the forum.” Sportswear,

No. 1:17-cv-11211-NMG, 2018 U.S. Dist. LEXIS 47318 at *11. Thus, establishing a customer base

in a particular district is sufficient cause for venue placement.




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                                                 PARTIES


15. Plaintiff, is and has been at all relevant times a resident of Bronx, State of New York.

16. Plaintiff is legally blind and a member of a protected class under the ADA, 42 U.S.C. § 12102(l)-

    (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the New York

    State Human Rights Law and the New York City Human Rights Law. Plaintiff, LAMAR BROWN,

    cannot use a computer without the assistance of screen reader software. Plaintiff, LAMAR

    BROWN, has been denied the full enjoyment of the facilities and services of Solasalonstudios.com

    as a result of accessibility barriers on Solasalonstudios.com.

17. Defendants, SOLA SALON STUDIOS LLC, is a Colorado Limited Liability Company doing

    business in this State with its principal place of business located at 300 Union Blvd, Ste 600,

    Lakewood, CO 80228. Plaintiff intended to visit one of the Defendants’ physical location at 222

    East 34th St, New York, NY 10016.

18. Sola Salon Studios provides to the public a website known as Solasalonstudios.com which provides

    consumers with access to an array of services, which Defendants offer in connection with their

    physical location. Consumers across the United States use Defendants’ website to find the

    information about the salon locations and hours of operation, as well as information about the goods

    and services in its physical locations. Defendants’ website is a place of public accommodation

    within the definition of Title III of the ADA, 42 U.S.C. § 12181(7). See Victor Andrews v. Blick

    Art Materials, LLC, No. 17-cv-767, 2017 WL 3278898 (E.D.N.Y. August 1, 2017). As a result of

    accessibility barriers on Solasalonstudios.com, Plaintiff has been denied the full enjoyment of the

    facilities, goods and services of Solasalonstudios.com, as well as deprived of the opportunity to

    enjoy the facilities, goods and services of Defendants’ brick and mortar locations.




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                                         NATURE OF THE CASE


19. The Internet has become a significant source of information, a portal, and a tool for conducting

    business, doing everyday activities such as shopping, learning, banking, researching, as well as

    many other activities for sighted, blind and visually-impaired persons alike.


20. The blind access websites by using keyboards in conjunction with screen-reading software which

    vocalizes visual information on a computer screen. Except for a blind person whose residual vision

    is still sufficient to use magnification, screen access software provides the only method by which a

    blind person can independently access the Internet. Unless websites are designed to allow for use

    in this manner, blind persons are unable to fully access Internet websites and the information,

    products and services contained therein.


21. For screen-reading software to function, the information on a website must be capable of being

    rendered into text. If the website content is not capable of being rendered into text, the blind user is

    unable to access the same content available to sighted users.


22. Blind users of Windows operating system-enabled computers and devises have several screen-

    reading software programs available to them. Job Access With Speech, otherwise known as

    “JAWS”, is currently the most popular, separately purchase and downloaded screen-reading

    software program available for blind computer users.


23. The international website standards organization, the World Wide Web Consortium, known

    throughout the world as W3C, has published version 2.1 of the Web Content Accessibility

    Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for making websites

    accessible to blind and visually-impaired persons. These guidelines are universally followed by




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    most large business entities and government agencies to ensure their websites are accessible. Many

    Courts have also established WCAG 2.1 as the standard guideline for accessibility. The federal

    government has also promulgated website accessibility standards under Section 508 of the

    Rehabilitation Act. These guidelines are readily available via the Internet, so that a business

    designing a website can easily access them. These guidelines recommend several basic components

    for making websites accessible, including but not limited to: adding invisible alt-text to graphics,

    ensuring that all functions can be performed using a keyboard and not just a mouse, ensuring that

    image maps are accessible, and adding headings so that blind persons can easily navigate the site.

    Without these very basic components, a website will be inaccessible to a blind person using a screen

    reader. Websites need to be accessible to the “least sophisticated” user of screen-reading software

    and need to be able to work with all browsers. Websites need to be continually updated and

    maintained to ensure that they remain fully accessible.




                                      FACTUAL ALLEGATIONS


24. Defendants control and operate Solasalonstudios.com in New York State and throughout the United

    States.


25. Solasalonstudios.com is a commercial website and online platform that offers beauty services,

    which Defendants offer, in connection with their physical locations.


26. Among the features offered by Solasalonstudios.com are the following:


              a) Customers may view and find information about salons’ locations and hours of

                operation, as well as information about the goods and services in its physical locations



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                 for purchase, information about available offers and programs, and, more importantly,

                 book an appointment with different types of beauty service professionals;

              b) Customers may use the website to connect with SOLA FRANCHISE CORPORATION

                 and SOLA SALON STUDIOS, LLC on various social media platforms, including

                 Instagram, Twitter, LinkedIn and YouTube;

              c) Learning about the company and franchising programs, reading blog, amongst other

                 features.

27. This case arises out of Sola Salon’s policy and practice of denying the blind access to the services

    offered by Solasalonstudios.com. Due to Sola Salon’s failure and refusal to remove access barriers

    to Solasalonstudios.com, blind individuals have been and are being denied equal access to Sola

    Salon, as well as to the numerous goods, services and benefits offered to the public through

    Solasalonstudios.com.


28. Sola Salon Studios denies the blind access to goods, services and information made available

    through Solasalonstudios.com by preventing them from freely navigating Solasalonstudios.com.


29. Solasalonstudios.com contains access barriers that prevent free and full use by Plaintiff and blind

    persons using keyboards and screen-reading software. These barriers are pervasive and include, but

    are not limited to: lack of alt-text on graphics, inaccessible drop-down menus, the lack of adequate

    prompting and labeling, the denial of keyboard access for some interactive elements, empty links

    that contain no text, and the requirement that transactions be performed solely with a mouse.


30. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical image on a website.

    Web accessibility requires that alt-text be coded with each picture so that a screen-reader can speak

    the alternative text while sighted users see the picture. Alt-text does not change the visual




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    presentation except that it appears as a text pop-up when the mouse moves over the picture. There

    are many important pictures on Solasalonstudios.com that lack a text equivalent. The lack of alt-

    text on these graphics prevents screen readers from accurately vocalizing a description of the

    graphics (screen-readers detect and vocalize alt-text to provide a description of the image to a blind

    computer user). As a result, Plaintiff and blind Solasalonstudios.com customers are unable to

    determine what is on the website, browse the website or investigate and/or make purchases.


31. Solasalonstudios.com also lacks prompting information and accommodations necessary to allow

    blind shoppers who use screen-readers to locate and accurately fill-out online forms. On a shopping

    site such as Solasalonstudios.com, these forms include fields to fill in personal information. Due to

    lack of adequate labeling, Plaintiff and blind customers cannot make purchases or inquiries as to

    Defendants’ merchandise, nor can they enter their personal identification and financial information

    with confidence and security.


32. When visiting the Website, Plaintiff, using JAWS, encountered the following specific accessibility

    issues:


         a) Plaintiff tried to follow Social media links from the website and received no prior warning

              that the links opened a new window. As a result, the Plaintiff unsuccessfully tried to use

              the "Back" function to go to the previous page and found himself disoriented;


         b) Sub-menu element with drop-down menu could not be accessed from the keyboard.

              Plaintiff tried to use "tab" or "arrow" keys to no avail. The website had functionality that

              was dependent on the specific devices such as a mouse, and was not available to the legally

              blind users;




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c) “Search service” field displayed a list of search suggestions that was expanded

   automatically after receiving keyboard focus. It did not announce neither its state -

   "collapsed" or "expanded", nor the total number of sub-elements included in the drop-

   down list. As a result, Plaintiff had difficulty in navigating the main page and could not

   determine in which part of the menu the keyboard focus was located;


d) Different images on the website had similar and poorly descriptive alternative text. The

   similar alternative text impeded Plaintiff from learning more detailed information about

   the company and services it provides;


e) In attempt to select a date for the desired service, Plaintiff encountered difficulties in using

   the calendar widget. No necessary information, instructions, description for form controls,

   were provided;


f) Carousel region with links did not have a mechanism to pause or stop the movement of the

   sliders. In addition, interactive elements of the carousel (Previous & Next slide buttons)

   were not keyboard focusable and Plaintiff was not allowed to control the moving content

   on the website;


g) Headings hierarchy on the website was not properly defined, and there were missing

   multiple headings: between levels 1 and 5; between 2 and 5; and between 2 and 4. As a

   result, Plaintiff could not perceive the logical organization of the page and effectively find

   the content of interest;


h) Plaintiff stumbled upon the inaccessible title of the heading: it was too long and contained

   more than 100 characters, which was difficult to understand using screen reader software;




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         i) Landmark structure was incorrectly defined. There was more than one main landmark

             without unique labels. It was difficult for Plaintiff to navigate through the main page using

             landmarks, as he could not perceive the unique purpose of the main sections of the page

             and select the content of interest;


         j) Plaintiff attempted to select a date and time for the service and as a result, the confirmation

             dialog box opened, but the focus did not move from trigger button to dialog items. Plaintiff

             was confused when he was unable to navigate through the content with the keyboard;


         k) Plaintiff encountered links (social media) that did not describe the content of the link

             target. There were no details what kind of information can be found on the destination

             page. Thus, Plaintiff was unaware of external destination of the social media links and was

             not informed that each of them had opened in a new window;


         l) “Book appointment” dialog contained a form field which did not specify whether it was

             mandatory (“Required”). The lack of detailed instructions while filling in the form,

             prevented Plaintiff from successful submission of personal information.


    Consequently, blind customers are essentially prevented from the ability to enjoy and use

    Defendants’ website and to find necessary information about salons locations and hours of operation.


33. Solasalonstudios.com requires the use of a mouse to complete a transaction. Yet, it is a fundamental

    tenet of web accessibility that for a web page to be accessible to Plaintiff and blind people, it must

    be possible for the user to interact with the page using only the keyboard. Indeed, Plaintiff and blind

    users cannot use a mouse because manipulating the mouse is a visual activity of moving the mouse

    pointer from one visual spot on the page to another. Thus, Solasalonstudios.com’s inaccessible




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    design, which requires the use of a mouse, denies Plaintiff and blind customers the ability to

    independently navigate Solasalonstudios.com.


34. Due to Solasalonstudios.com’s inaccessibility, Plaintiff and blind customers must in turn spend

    time, energy, and/or money to enjoy the Defendants’ services at traditional brick-and-mortar

    businesses. Some blind customers may require a driver to get to the stores or require assistance in

    navigating the stores. By contrast, if Solasalonstudios.com was accessible, a blind person could

    independently investigate services, compare features, discounts, promotions and prices via the

    Internet as sighted individuals can and do. According to WCAG 2.1 Guideline 3.2.1 “On Focus”,

    functionality of the components should be predictable as customers navigate their way through the

    website. Plaintiff encountered numerous obstacles on Solasalonstudios.com: automatic pop-ups and

    links that open new windows without prior warning. These obstacles can significantly disorient

    legally blind customers. Plaintiff had difficulty in determining when the automatic change in visual

    context occurred on the website. Thus, Sola Salon Studios has inaccessible design that deprives the

    Plaintiff and blind customers of the opportunity to use and enjoy Solasalonstudios.com on their

    own.


35. Solasalonstudios.com thus contains access barriers which deny the full and equal access to Plaintiff,

    who would otherwise use Solasalonstudios.com and who would otherwise be able to fully and

    equally enjoy the benefits and services of Solasalonstudios.com in New York State and throughout

    the United States.


36. Plaintiff, LAMAR BROWN, has made numerous attempts to visit and use Solasalonstudios.com,

    most recently on May 21, 2022, but was unable to do so independently because of the many access

    barriers on Defendants’ website. These access barriers have caused Solasalonstudios.com to be




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    inaccessible to, and not independently usable by blind and visually-impaired persons. Amongst

    other access barriers experienced, Plaintiff was unable to learn necessary information about salon

    locations and hours of operation, compare prices and benefits and learn more information about the

    goods and services related to their physical location.


37. Moreover, Plaintiff intends on visiting the Website in the future in order to view new services and

    promotions available in Defendants’ salons. Plaintiff enjoys the various types of hairdressing,

    beauty and massage services, and would like to visit one of the Defendants’ physical salon location.


38. As described above, Plaintiff has actual knowledge of the fact that Defendants’ website,

    Solasalonstudios.com, contains access barriers causing the website to be inaccessible, and not

    independently usable by, blind and visually-impaired persons.


39. These barriers to access have denied Plaintiff full and equal access to, and enjoyment of, the benefits

    and services of Solasalonstudios.com.


40. Defendants engaged in acts of intentional discrimination, including but not limited to the following

    policies or practices:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or


             (c) failed to take actions to correct these access barriers in the face of substantial harm and

                 discrimination to blind class members.




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41. Defendants utilize standards, criteria or methods of administration that have the effect of

    discriminating or perpetuating the discrimination of others.


42. Because of Defendants’ denial of full and equal access to, and enjoyment of, the goods, benefits

    and services of Solasalonstudios.com, Plaintiff and the class have suffered an injury-in-fact which

    is concrete and particularized and actual and is a direct result of Defendants’ conduct.




                                    CLASS ACTION ALLEGATIONS


43. Plaintiff, on behalf of himself and all others similarly situated, seeks certification of the following

    nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure: “all

    legally blind individuals in the United States who have attempted to access Solasalonstudios.com

    and as a result have been denied access to the enjoyment of goods and services offered by

    Solasalonstudios.com, during the relevant statutory period.”


44. Plaintiff seeks certification of the following New York subclass pursuant to Fed.R.Civ.P. 23(a),

    23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in New York State who have

    attempted to access Solasalonstudios.com and as a result have been denied access to the enjoyment

    of goods and services offered by Solasalonstudios.com, during the relevant statutory period.”


45. There are hundreds of thousands of visually-impaired persons in New York State. There are

    approximately 8.1 million people in the United States who are visually-impaired. Id. Thus, the

    persons in the class are so numerous that joinder of all such persons is impractical and the

    disposition of their claims in a class action is a benefit to the parties and to the Court.




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46. This case arises out of Defendants’ policy and practice of maintaining an inaccessible website

    denying blind persons access to the goods and services of Solasalonstudios.com. Due to

    Defendants’ policy and practice of failing to remove access barriers, blind persons have been and

    are being denied full and equal access to independently browse Solasalonstudios.com.


47. There are common questions of law and fact common to the class, including without limitation, the

    following:


             (a) Whether Solasalonstudios.com is a “public accommodation” under the ADA;


             (b) Whether Solasalonstudios.com is a “place or provider of public accommodation” under

                 the laws of New York;


             (c) Whether Defendants, through its website, Solasalonstudios.com, denies the full and

                 equal enjoyment of its goods, services, facilities, privileges, advantages, or

                 accommodations to people with visual disabilities in violation of the ADA; and


             (d) Whether Defendants, through its website, Solasalonstudios.com, denies the full and

                 equal enjoyment of its goods, services, facilities, privileges, advantages, or

                 accommodations to people with visual disabilities in violation of the law of New York.


48. The claims of the named Plaintiff are typical of those of the class. The class, similar to the Plaintiff,

    is severely visually-impaired or otherwise blind, and claims Sola Salon Studios has violated the

    ADA, and/or the laws of New York by failing to update or remove access barriers on their website,

    Solasalonstudios.com, so it can be independently accessible to the class of people who are legally

    blind.




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49. Plaintiff will fairly and adequately represent and protect the interests of the members of the Class

    because Plaintiff has retained and is represented by counsel competent and experienced in complex

    class action litigation, and because Plaintiff has no interests antagonistic to the members of the

    class. Class certification of the claims is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

    Defendants have acted or refused to act on grounds generally applicable to the Class, making

    appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.


50. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because questions of

    law and fact common to Class members clearly predominate over questions affecting only

    individual class members, and because a class action is superior to other available methods for the

    fair and efficient adjudication of this litigation.


51. Judicial economy will be served by maintenance of this lawsuit as a class action in that it is likely

    to avoid the burden that would be otherwise placed upon the judicial system by the filing of

    numerous similar suits by people with visual disabilities throughout the United States.


52. References to Plaintiff shall be deemed to include the named Plaintiff and each member of the class,

    unless otherwise indicated.




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                                       FIRST CAUSE OF ACTION

         (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)


53. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs 1

    through 56 of this Complaint as though set forth at length herein.


54. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a) provides that “No

    individual shall be discriminated against on the basis of disability in the full and equal enjoyment

    of the goods, services, facilities, privileges, advantages, or accommodations of any place of public

    accommodation by any person who owns, leases (or leases to), or operates a place of public

    accommodation.” Title III also prohibits an entity from “[u]tilizing standards or criteria or methods

    of administration that have the effect of discriminating on the basis of disability.” 42 U.S.C.

    § 12181(b)(2)(D)(I).


55. Solasalonstudios.com is a public accommodation within the definition of 42 U.S.C. §§ 12181(7).


56. Defendants are subject to Title III of the ADA because they own and operate Solasalonstudios.com.


57. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities the opportunity to participate

    in or benefit from the goods, services, facilities, privileges, advantages, or accommodations of an

    entity.


58. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities an opportunity to participate

    in or benefit from the goods, services, facilities, privileges, advantages, or accommodation, which

    is equal to the opportunities afforded to other individuals.




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59. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful discrimination

    includes, among other things, “a failure to make reasonable modifications in policies, practices, or

    procedures, when such modifications are necessary to afford such goods, services, facilities,

    privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

    demonstrate that making such modifications would fundamentally alter the nature of such goods,

    services, facilities, privileges, advantages or accommodations.”


60. In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful discrimination

    also includes, among other things, “a failure to take such steps as may be necessary to ensure that

    no individual with disability is excluded, denied services, segregated or otherwise treated

    differently than other individuals because of the absence of auxiliary aids and services, unless the

    entity can demonstrate that taking such steps would fundamentally alter the nature of the good,

    service, facility, privilege, advantage, or accommodation being offered or would result in an undue

    burden.”


61. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their websites accessible, including but not limited to ensuring adequate

    prompting and accessible alt-text. Incorporating the basic components to make their website

    accessible would neither fundamentally alter the nature of Defendants’ business nor result in an

    undue burden to Defendants.


62. The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C. § 12101 et seq., and

    the regulations promulgated thereunder. Patrons of Sola Salon Studios who are blind have been

    denied full and equal access to Solasalonstudios.com, have not been provided services that are




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    provided to other patrons who are not disabled, and/or have been provided services that are inferior

    to the services provided to non-disabled patrons.


63. Defendants have failed to take any prompt and equitable steps to remedy their discriminatory

    conduct. These violations are ongoing.


64. As such, Defendants discriminate, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Solasalonstudios.com in violation of Title III of the Americans with Disabilities

    Act, 42 U.S.C. §§ 12181 et seq. and/or its implementing regulations.


65. Unless the Court enjoins Defendants from continuing to engage in these unlawful practices,

    Plaintiff and members of the proposed class and subclass will continue to suffer irreparable harm.


66. The actions of Defendants were and are in violation of the ADA, and therefore Plaintiff invokes his

    statutory right to injunctive relief to remedy the discrimination.


67. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


68. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and incorporated

    therein, Plaintiff prays for judgment as set forth below.




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                                    SECOND CAUSE OF ACTION

                     (Violation of New York State Human Rights Law, N.Y. Exec. Law
                                 Article 15 (Executive Law § 292 et seq.))


69. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 72 of this Complaint as though set forth at length herein.


70. N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory practice for any person,

    being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any place of

    public accommodation . . . because of the . . . disability of any person, directly or indirectly, to

    refuse, withhold from or deny to such person any of the accommodations, advantages, facilities or

    privileges thereof.”


71. Solasalonstudios.com is a public accommodation within the definition of N.Y. Exec. Law § 292(9).


72. Defendants are subject to the New York Human Rights Law because they own and operate

    Solasalonstudios.com. Defendants are persons within the meaning of N.Y. Exec. Law. § 292(1).


73. Defendants are violating N.Y. Exec. Law § 296(2)(a) in refusing to update or remove access barriers

    to Solasalonstudios.com, causing Solasalonstudios.com to be completely inaccessible to the blind.

    This inaccessibility denies blind patrons the full and equal access to the facilities, goods and

    services that Defendants make available to the non-disabled public.


74. Specifically, under N.Y. Exec. Law § unlawful discriminatory practice includes, among other

    things, “a refusal to make reasonable modifications in policies, practices, or procedures, when such

    modifications are necessary to afford facilities, privileges, advantages or accommodations to




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    individuals with disabilities, unless such person can demonstrate that making such modifications

    would fundamentally alter the nature of such facilities, privileges, advantages or accommodations.”


75. In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory practice also includes,

    “a refusal to take such steps as may be necessary to ensure that no individual with a disability is

    excluded or denied services because of the absence of auxiliary aids and services, unless such

    person can demonstrate that taking such steps would fundamentally alter the nature of the facility,

    privilege, advantage or accommodation being offered or would result in an undue burden.”


76. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature of

    Defendants’ business nor result in an undue burden to Defendants.


77. Defendants’ actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the New York State Human Rights Law, N.Y. Exec. Law § 296(2) in that

    Defendants have:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or




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             (c) failed to take actions to correct these access barriers in the face of substantial harm and

                 discrimination to blind class members.


78. Defendants have failed to take any prompt and equitable steps to remedy their discriminatory

    conduct. These violations are ongoing.


79. As such, Defendants discriminate, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Solasalonstudios.com under N.Y. Exec. Law § 296(2) et seq. and/or its

    implementing regulations. Unless the Court enjoins Defendants from continuing to engage in these

    unlawful practices, Plaintiff and members of the class will continue to suffer irreparable harm.


80. The actions of Defendants were and are in violation of the New York State Human Rights Law and

    therefore Plaintiff invokes his right to injunctive relief to remedy the discrimination.


81. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines pursuant to

    N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.


82. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


83. Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set forth and

    incorporated therein, Plaintiff prays for judgment as set forth below.




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                                         THIRD CAUSE OF ACTION

                                (Violation of New York State Civil Rights Law,
                               NY CLS Civ R, Article 4 (CLS Civ R § 40 et seq.))


84. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 87 of this Complaint as though set forth at length herein.


85. Plaintiff served notice thereof upon the attorney general as required by N.Y. Civil Rights Law § 41.


86. N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction of this state shall be

    entitled to the full and equal accommodations, advantages, facilities, and privileges of any places

    of public accommodations, resort or amusement, subject only to the conditions and limitations

    established by law and applicable alike to all persons. No persons, being the owner, lessee,

    proprietor, manager, superintendent, agent, or employee of any such place shall directly or

    indirectly refuse, withhold from, or deny to any person any of the accommodations, advantages,

    facilities and privileges thereof . . .”


87. N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . . disability, as such term is

    defined in section two hundred ninety-two of executive law, be subjected to any discrimination in

    his or her civil rights, or to any harassment, as defined in section 240.25 of the penal law, in the

    exercise thereof, by any other person or by any firm, corporation or institution, or by the state or

    any agency or subdivision.”


88. Solasalonstudios.com is a public accommodation within the definition of N.Y. Civil Rights Law §

    40-c(2).




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89. Defendants are subject to New York Civil Rights Law because they own and operate

    Solasalonstudios.com. Defendants are persons within the meaning of N.Y. Civil Law § 40-c(2).


90. Defendants are violating N.Y. Civil Rights Law § 40-c(2) in refusing to update or remove access

    barriers to Solasalonstudios.com, causing Solasalonstudios.com to be completely inaccessible to

    the blind. This inaccessibility denies blind patrons full and equal access to the facilities, goods and

    services that Defendants make available to the non-disabled public.


91. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature of

    Defendants’ business nor result in an undue burden to Defendants.


92. In addition, N.Y. Civil Rights Law § 41 states that “any corporation which shall violate any of the

    provisions of sections forty, forty-a, forty-b or forty two . . . shall for each and every violation

    thereof be liable to a penalty of not less than one hundred dollars nor more than five hundred dollars,

    to be recovered by the person aggrieved thereby . . .”


93. Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall violate any of the

    provisions of the foregoing section, or subdivision three of section 240.30 or section 240.31 of the

    penal law, or who shall aid or incite the violation of any of said provisions shall for each and every

    violation thereof be liable to a penalty of not less than one hundred dollars nor more than five

    hundred dollars, to be recovered by the person aggrieved thereby in any court of competent

    jurisdiction in the county in which the defendant shall reside . . .”



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94. Defendants have failed to take any prompt and equitable steps to remedy their discriminatory

    conduct. These violations are ongoing.


95. As such, Defendants discriminate, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class on the basis of disability are being directly indirectly refused,

    withheld from, or denied the accommodations, advantages, facilities and privileges thereof in § 40

    et seq. and/or its implementing regulations.


96. Plaintiff is entitled to compensatory damages of five hundred dollars per instance, as well as civil

    penalties and fines pursuant to N.Y. Civil Rights Law § 40 et seq. for each and every offense.




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                                     FOURTH CAUSE OF ACTION
                              (Violation of New York City Human Rights Law,
                                N.Y.C. Administrative Code § 8-102, et seq.)


97. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs 1

    through 100 of this Complaint as though set forth at length herein.


98. N.Y.C. Administrative Code § 8-107(4)(a) provides that “it shall be an unlawful discriminatory

    practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

    employee of any place or provider of public accommodation, because of . . . disability . . . directly

    or indirectly, to refuse, withhold from or deny to such person, any of the accommodations,

    advantages, facilities or privileges thereof.”


99. Solasalonstudios.com is a public accommodation within the definition of N.Y.C. Administrative

    Code § 8-102(9).


100. Defendants are subject to City Law because they own and operate Solasalonstudios.com.

    Defendants are persons within the meaning of N.Y.C. Administrative Code § 8-102(1).


101. Defendants are violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to update or remove

    access barriers to Solasalonstudios.com, causing Solasalonstudios.com to be completely

    inaccessible to the blind. This inaccessibility denies blind patrons full and equal access to the

    facilities, goods, and services that Defendants make available to the non-disabled public.

    Specifically, Defendants are required to “make reasonable accommodation to the needs of persons

    with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from discriminating

    on the basis of disability shall make reasonable accommodation to enable a person with a disability




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    to . . . enjoy the right or rights in question provided that the disability is known or should have been

    known by the covered entity.” N.Y.C. Administrative Code § 8107(15)(a).


102. Defendants’ actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and § 8-107(15)(a) in that

    Defendants have:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or


             (c) failed to take actions to correct these access barriers in the face of substantial harm and

                 discrimination to blind class members.


103. Defendants have failed to take any prompt and equitable steps to remedy their discriminatory

    conduct. These violations are ongoing.


104. As such, Defendants discriminate, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Solasalonstudios.com under N.Y.C. Administrative Code § 8-107(4)(a) and/or its

    implementing regulations. Unless the Court enjoins Defendants from continuing to engage in these

    unlawful practices, Plaintiff and members of the class will continue to suffer irreparable harm.




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105. The actions of Defendants were and are in violation of City law and therefore Plaintiff invokes his

     right to injunctive relief to remedy the discrimination.


106. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines under N.Y.C.

     Administrative Code § 8-120(8) and § 8-126(a) for each offense.


107. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


108. Pursuant to N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) and the remedies, procedures,

     and rights set forth and incorporated therein, Plaintiff prays for judgment as set forth below.




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                                       FIFTH CAUSE OF ACTION

                                             (Declaratory Relief)


109. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 112 of this Complaint as though set forth at length herein.


110. An actual controversy has arisen and now exists between the parties in that Plaintiff contends, and

    is informed and believes that Defendants deny, that Solasalonstudios.com contains access barriers

    denying blind customers the full and equal access to the goods, services and facilities of

    Solasalonstudios.com, which Sola Salon Studios owns, operates and/or controls, fails to comply

    with applicable laws including, but not limited to, Title III of the American with Disabilities Act,

    42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Administrative Code § 8-

    107, et seq. prohibiting discrimination against the blind.


111. A judicial declaration is necessary and appropriate at this time in order that each of the parties may

    know their respective rights and duties and act accordingly.




                                          PRAYER FOR RELIEF


    WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and the class and

    against the Defendants as follows:


              a) A preliminary and permanent injunction to prohibit Defendants from violating the

                 Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296,

                 et seq., and N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;




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b) A preliminary and permanent injunction requiring Defendants to take all the steps

  necessary to make its website, Solasalonstudios.com, into full compliance with the

  requirements set forth in the ADA, and its implementing regulations, so that

  Solasalonstudios.com is readily accessible to and usable by blind individuals;


c) A declaration that Defendants own, maintain and/or operate their website,

  Solasalonstudios.com, in a manner which discriminates against the blind and which

  fails to provide access for persons with disabilities as required by Americans with

  Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

  Administrative Code § 8-107, et seq., and the laws of New York;


d) An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2)

  and/or (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class

  Counsel;


e) An order directing Defendants to continually update and maintain their website to

  ensure that it remains fully accessible to and usable by the visually-impaired;


f) Compensatory damages in an amount to be determined by proof, including all

  applicable statutory damages and fines, to Plaintiff and the proposed class for violations

  of their civil rights under New York State Human Rights Law and City Law;


g) Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state

  and federal law;


h) For pre- and post-judgment interest to the extent permitted by law; and




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        i) For such other and further relief which this court deems just and proper.



Dated: Forest Hills, New York
June 7, 2022

                                                 MARS KHAIMOV LAW, PLLC
                                                 Attorneys for Plaintiff

                                                 /s/ Mars Khaimov

                                                 By: Mars Khaimov, Esq.
                                                     108-26 64th avenue, Second Floor
                                                     Forest Hills, New York 11375
                                                     Tel (929) 324-0717
                                                     Fax (929) 333-7774
                                                     Email: mars@khaimovlaw.com




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